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August 12, 2024



U.S. District Court
District of New Jersey
MLK Building
50 Walnut Street
Newark, NJ 07102

RE:    United States of America, et al v. Apple Inc.
       U.S. District Court, District of New Jersey Cause No. 2:24-cv-04055-JXN-LDW

Dear Clerk:

Please add the following email address to the cause number listed above as a Notice Ony Party.

       ATSeaEF@atg.wa.gov

Thank you for your assistance in this matter.

Best regards,


s/ Debbie Chase
DEBBIE CHASE
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DC
